                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )     NO. 3:14-00090-14
                                                )     JUDGE CAMPBELL
ROBERT FOXX                                     )

                                        ORDER

       Pending before the Court is Defendant Robert Foxx’s Motion to Continue Sentencing

Hearing Set for November 12, 2015 (Docket No. 810). The Motion is GRANTED.

       The sentencing hearing for Defendant Robert Foxx is RESCHEDULED for April 8, 2016,

at 1:00 p.m.

       It is so ORDERED.

                                                ____________________________________
                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




 Case 3:14-cr-00090     Document 811      Filed 11/06/15   Page 1 of 1 PageID #: 3042
